       Case 16-41161             Doc 2232      Filed 07/21/21 Entered 07/21/21 14:39:53                      Main Document
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                                    UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF MISSOURI



In re: Abengoa Bioenergy US Holding, LLC                          §                 Case No. 16-41161
                                                                  §
                                                                                    Lead Case No. 16-41161
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 06/30/2021                                                            Petition Date: 02/24/2016



Plan Confirmed Date:06/08/2017                                                       Plan Effective Date: 07/06/2017


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: GUC Liquidating Trust
                                                                                  Name of Authorized Party or Entity




/s/ Mark V. Bossi                                                       Mark V. Bossi
Signature of Responsible Party                                           Printed Name of Responsible Party
07/21/2021
                                                                        Thompson Coburn LLP
Date                                                                    One US Bank Plaza
                                                                        St. Louis, MO 63101
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




UST Form 11-PCR (06/07/2021)                                      1
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Debtor's Name Abengoa Bioenergy US Holding, LLC        Pg 2 of 4                Case No. 16-41161


Part 1: Summary of Post-confirmation Transfers

                                                                                                                                      Total Since
                                                                                                       Current Quarter               Effective Date

 a. Total cash disbursements                                                                                       $812,126                 $53,589,464
 b. Non-cash securities transferred                                                                                       $0                        $0
 c. Other non-cash property transferred                                                                                   $0                        $0
 d. Total transferred (a+b+c)                                                                                      $812,126                 $53,589,464

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                        Approved       Approved       Paid Current        Paid
                                                                                      Current Quarter Cumulative        Quarter         Cumulative
a.          Professional fees & expenses (bankruptcy)
            incurred by or on behalf of the debtor                 Aggregate Total
            Itemized Breakdown by Firm
                   Firm Name                            Role
            i
            ii


                                                                                        Approved       Approved       Paid Current        Paid
                                                                                      Current Quarter Cumulative        Quarter         Cumulative
b.          Professional fees & expenses (nonbankruptcy)
            incurred by or on behalf of the debtor                 Aggregate Total
            Itemized Breakdown by Firm
                   Firm Name                            Role
            i
            ii
c.          All professional fees and expenses (debtor & committees)

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                      Total
                                                   Anticipated                                                                               % Paid of
                                                    Payments              Paid Current                                                       Allowed
                                                   Under Plan               Quarter             Paid Cumulative      Allowed Claims           Claims
 a. Administrative claims                                  $7,831,842                     $0          $7,831,842               $7,831,842        100%
 b. Secured claims                                             $98,300                    $0            $98,300                  $98,300         100%
 c. Priority claims                                         $790,753                 $629,666          $790,753                 $790,753         100%
 d. General unsecured claims                            $34,407,675                       $0         $34,407,675           $34,407,675           100%
 e. Equity interests                                               $0                     $0                 $0


Part 4: Questionnaire
     a. Is this a final report?                                                                                     Yes         No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:         03/31/2022
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                           Yes         No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Timothy Daileader                                                 Timothy Daileader
Signature of Responsible Party                                         Printed Name of Responsible Party
Authorized Signatory                                                   07/21/2021
Title                                                                  Date




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                             CHAPTER 11 POST CONFIRMATION REPORT
                                   FOR THE QUARTER ENDED:
                                          JUNE 30, 2021

 Debtor: ABENGOA BIOENERGY US HOLDING LLC, et al.                         Case No. 16-41161
                                                                          Jointly Administered

  Bank Account Information                             Account #1                 Account #2

  Name of Bank                             Wells Fargo Private Bank   Wells Fargo Private Bank
  Account Number                                               x247                       x262
  Purpose of Account                                Operating - MO      Disputed Claims - MO
  Type of Account                                    Direct Deposit             Direct Deposit

  1. Balance per account statement                    $3,485,452.93                      $0.00
  2. ADD: Deposits not credited                                   0                          0
  3. SUBTRACT: Outstanding Checks                                 0                          0
  4. Other Reconciling Items                                      0                          0
  5. Quarter End Balance                              $3,485,452.93                      $0.00
  Agrees with Books (Y/N)                                         Y                          Y



  Bank Account Information                             Account #3                 Account #4

  Name of Bank                             Wells Fargo Private Bank   Wells Fargo Private Bank
  Account Number                                               x254                       x521
  Purpose of Account                        MRA Reserve Account         Ttee Additional Comp
  Type of Account                                    Direct Deposit             Direct Deposit

  1. Balance per account statement                            $0.00                         $0
  2. ADD: Deposits not credited                                   0                          0
  3. SUBTRACT: Outstanding Checks                                 0                          0
  4. Other Reconciling Items                                      0                          0
  5. Quarter End Balance                                      $0.00                         $0
  Agrees with Books (Y/N)                                         Y                          Y



  Bank Account Information                             Account #5

  Name of Bank                               Wells Fargo Securities
  Account Number                                              x302
  Purpose of Account                              Investment - MO
  Type of Account                          Money Market/ UST bills

  1. Balance per account statement                   $95,512,023.97
  2. ADD: Deposits not credited                                   0
  3. SUBTRACT: Outstanding Checks                                 0
  4. Other Reconciling Items                                      0
  5. Quarter End Balance                             $95,512,023.97
  Agrees with Books (Y/N)                                         Y
